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        JA M E S B U CK M A N etal.,
                                                  CA SE N O :19-CV -24l84
        Plaintiff
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        Com es now Jam esBuckm an w ith notice ofappealagainstJudges order
        9/15/2020Denying anddismissingPlaintiffscomplaintwith prejudice
        w hen plaintiffsw ere supposed to be given m ore tim e by courtto turn in
        complaintbutbutmotiontoreconsiderwasdeniedseeexhibitA J
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        foregoing hasbeen furnished by U.S.M ailorE-file to:
        BLA NK RO M E LLP,DanieIS.H urtescc,NicoleR .Topper T o
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ENDORSED ORDER denying g48)M otion forReconsideration.Signed by JudgeM arciaG.
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                             CaseN o.19-24184-Civ-CO OKE/GO ODM AN
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      JAM ES BUCKM AN ,etal.,

             PlaintiFs, .

      VS.

      LAN CASTER M ORTGAG E CO.,etal.b

             D efendants.
                                                     /
                                   ORDER ON PLM NTW FSAM OTIO N
                                                                                                                      l
             THIt;CAUSE isbefore the Courton prosePlaindFs'M otion (ECF No.46). On
      August 17,2020,the Courtdism issed and closed this case because Plaintie 'Am ended
      ComplaintstillcontainedthedefectstheCourtj1
                                               'slucted Plaintestocute.SeeECF No.
      44. D espite an extension of tim e to com ply with the Court's O rder, the A m ended
      Com plaint rem ained a rhotgun pleading. Consequently, the Court dism issed the action.
      Before the August 17,2020 dismissal,on August6,2020,PlaintiFs flled a moéon for an
      additionalextension oftime,which became mootwhen PlaintiFsfilèd a timely Amended
      Com plainton the sam edayl SeeECF N os.42,43. The docketenly forPlaintifs'm otion
      for extension of tim e noted that D efendants' had until A ugust 20, 2020 to respond to
      PlaintiFs'M otion,ifthey w'ished to do so. SceECF No.42. Thisis a custom ary notation
      on the docketwhenever a motion is sled. Plaintiffs have now Sed the instantm otion,
      positing thatthe August20,2020 date wasan exVnsiorzthisCourtgranteflto the Plaindfrs
      to subm itanotherAm ended Complaint. Thisisnotso. Asexplained,the docketreflected
      thedateby which Defendantswereto haveresponded to Plaindffs'M otion.

      lSince the Courtdism issed the action, PlaintiFsNaveftled two addidonalamended complaine,one without
      seekingleave(ECF No.45),and onewith theinstantmotion (ECF No,46-2). Neitherofthesecomplaints
      comply with Rule 8 and the Court'sOrdt'   r. The FederalRules ofCivilProcedure permitdi-   strictcourtsto   ,
      impose $:appropriatesanctions,''afternotice and a reasonable oppormnity to respon'd, wherepartysubmit. sa   i
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      pieadingtothzcourtforanimproperpumose. 9eFed.R.Civ.P.1l(c). W hilepm selitigane are G orded
      Ieniency in federal court proceedino ,they a1e not exemptfrom following Court orders or conduding
      themselvesprofessionany before theCourt. PlaintiFsarethereforecautioned againstfrivolous,vexatious,and
      unprofessionallitigation practices.
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            Accordingly,the Courtfm dsno p oundsto disturb itsOrderdism issing thecase with
         dice. lt istherefore ORD ERED AND 'AD JUDG ED that Plai/tiFs' M otion is
    Preju
    DENV D and the caseisto rem ain CLOSED .
    DON E anë ORDERED in cham bers,atM iam i,Florida,this25th day ofAugust2020.


                                                /M WM J        .
                                           M AR IA G.COOKE
                                           UnitedStatesDiskictJudge

     Copiesfurnished to:
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
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          JZM     S BUCKM AN ,eta1.,

          Plaintiff(s)                CASE;19-CV-24184-CO0KE /GOODM EN

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          LA N CA STER M ORTGA GE CO .,etal..                     C.
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          Defendants(s)                                            a
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           M otion to extend the tim eto file second am ended com plaint,because 1
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         DEFENDANT DEUTSCHEBANK AT 500E.BROWAO BLVD.
         S1'E.2100 FT.LAUD .FLA .33394 PH :954-512-1800.




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                                  UM TED STATES D ISTRICT COURT
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                              CaseN o.19-24184-Civ-CO OKE/G OO D M AN

     JAM ES BUCKM AN ,eta1.,

             PlaintiFs,

     VS.

     LAN CA STER M ORTGA G E CO .,etal.,

             D efendants.

                                   ORD ER ON PLAINTV FS/M OTIO N
             THIS CAUSE isbefore the Courton prosePlaintiFs'M otion IECF No.46). On
     A ugust 17,2020, the Court dism issed and closed this case because Plaintifrs'Am ended
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                                                j1structed Plaintifrstocute. SeeECF No.
     44. D espite an extension of tim e to com ply with the Court's Order, the Am ended
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    positing thatthe August20,2020 date w as an exvnsiorzthis Courtgranted to the PlaintiFs
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    the dateby which Defendantswereto have responded to Plaintiffs'M otion.

    1 Since the Courtdism issed the action, Plaintifrshave flled two additionalamended complaints one w ithout
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    seekingleave (ECF No.45),and onewith the instantmotion (ECF No.46-2). Neitherofthesecomplaints
    com ply with Rule 8 and the Court's Order. The FederalRules of CivilProcedure perm itdistrictcourtsto
    impose dfappropriate sanctions,''afternotice and a reasonable opportunity to respon'd, whereparty subrnitsa
    pieading to tha courtforan improperpurpose. SeeFed.R.Civ.P.11(c). W hileproselitigantsareaForded
    leniency in federal court proceedings,they a1e not exempt from following Court orders or conducting
    them selvesprofessionally before the Court. Plaintifrsaretherefore cautioned againstfrivolous, vexatious,and
    unprofessionallitigationpractices.
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          Accordingly,the Courtfm dsno groundsto dism rb itsO rderdism issing the case with
   Prejudice. It istherefore ORDERED A.
                                      N'D 'ADJUDGED that Plainr
                                                              tiFs' M otion is
   D EN V D and thecase isto rem ain CLO SED .
   D O N E aad O RDERED in cham bers,atM iam i,Florida,this25th day ofA ugust2020.


                                                  fù 'M J         .
                                            M AR IA G.COOKE
                                            U nited StatesD istrictJudge

   C opiesfurnished to;
   Jonathan Goodm anpU & M agistrateJudge
   Jam esBuckm an,pro se
   M auriceSym onette,prose
    Counselof Record
